Case 1:20-cr-00136-JMS Document 323 Filed 04/03/23 Page 1 of 4          PageID.3081




Salina M. Kanai, #8096
Federal Public Defender
District of Hawaii

Craig W. Jerome #8797
First Assistant Federal Defender
300 Ala Moana Boulevard, Suite 7104
Honolulu, Hawaii 96850
Telephone: 808-541-2521
Facsimile: 808-541-3545
E-Mail:      salina_kanai@fd.org
             craig_jerome@fd.org

Attorneys for Defendant
Kaulana Alo-Kaonohi (01)

                          In the United States District Court

                              For the District of Hawaii

United States of America,                   DC No. 1:20-cr-00136-JMS

            Plaintiff                       Joint Position on Restitution

      v.                                    Certificate of Service

Kaulana Alo-Kaonohi (01), and Levi
Aki, Jr. (02),

            Defendants
Case 1:20-cr-00136-JMS Document 323 Filed 04/03/23 Page 2 of 4           PageID.3082




                            Joint Position on Restitution

      Both defendants and the government have conferred regarding the

restitution requested at Paragraph 20a on page 8 of the Presentence Report, and all

three parties agree that the total amount of restitution shall be $25,413.91 as set

forth below in the table:

            Item                Loss Requested              Loss Agreed Upon
 iPhone                        $846.00               $846.00
 Gold chain                    $5680.00              $5680.00
 Damage to Land Rover          $7947.98              $500 due to CK for the deductible;
                                                     $7447.98 due to CK’s insurance
                                                     company after all restitution
                                                     payments to CK have been made
                                                     (18 U.S.C. §§ 3664(f)(1)(B);
                                                     3664(j)(1))
 Tools/Household Items         $25,088.76            $78.02 for the loss of the roofing
                                                     shovel used
 Medical Costs                 $10,861.91            $10,861.91
 Temporary Housing             $5000.00              None
 Loss of the Use of the        $5000.00              None
 House
 TOTAL                         $60,425.53            $25,413.91


      Unless the Court disagrees, all parties would request that a restitution order

reflecting the agreement be entered and the hearing on restitution be vacated. The

$25,413.91 in restitution should be owed jointly and severally as to the two

defendants. Any unpaid balance should be paid during the period of supervision in

monthly installments of 10% of the defendant’s gross monthly income commencing

30 days after the start of supervision. Interest should be waived while the

defendant is serving any term of imprisonment. All restitution owed to CK shall be

paid to CK before any restitution is paid to any insurance company.
Case 1:20-cr-00136-JMS Document 323 Filed 04/03/23 Page 3 of 4                         PageID.3083




        Dated: Honolulu, Hawaii, April 3, 2023.


                                                           /s/ Salina M. Kanai
                                                           Salina M. Kanai
                                                           Federal Public Defender
                                                                   for the District of Hawaii
                                                           Attorney for Defendant (01)
                                                           Kaulana Alo-Kaonohi




In the United States District Court, in the District of Hawaii;
United States v. Alo-Kaonohi, Cr. No. 20-00136 JMS-01; Joint Position on Restitution
Case 1:20-cr-00136-JMS Document 323 Filed 04/03/23 Page 4 of 4           PageID.3084




                              Certificate of Service

      I, Salina M. Kanai, certify that a true and correct copy of the foregoing was

served on the following by the method of service indicated below:

      Served electronically via CM/ECF:

             Micah Smith                            micah.smith@usdoj.gov
             Christopher J. Perras                  christopher.perras@usdoj.gov
             Tara Knoll Allison                     tara.allison@usdoj.gov
             U.S. Department of Justice
             Civil Rights Division
             150 M Street, 7th Floor
             Washington, DC 20002

             Attorneys for Plaintiff
             United States of America

      Served electronically via email:

             Justin Jo                              justin_jo@hip.uscourts.gov
             U. S. Probation Officer
             300 Ala Moana Blvd., Room 2300
             Honolulu, Hawaii 96850

      Date: Honolulu, Hawaii, April 3, 2023.

                                             /s/ Salina M. Kanai
                                             Salina M. Kanai
                                             Federal Public Defender
                                                     for the District of Hawaii
                                             Attorney for Defendant (01)
                                             Kaulana Alo-Kaonohi
